Case 1:12-cv-21915-WCT Document 1 Entered on FLSD Docket 05/21/2012 Page 1 of 6




                                 UNITED STA TES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT 01<' FLORIDA

                                                           CDCS# 20lOA53265
                                                           Case No.:
   UNITED STATES OF AMERICA                          §
                                                     §
                                                     §
    n.                                               §
                                                     §
                                       §
    MARIA MEDINA AlKJA MARIA E CAPOTE, §




    TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

         The United States of America, plaintiff, alleges that:

                                                  Jurisdictiou

         I. This Court has jurisdiction over the subject matter of this action pursuant to Article III, Section

    2, U.S. Constitution and 28 U.S.c. § 1345.



         2. The defendant is a resident of Miami-Dade County, Florida within the Jurisdiction of this Court

    and may be served with service of process at PERSONAL AND CONFlDENTI,\L 10240 SW 56TH S1'

    STE 108, MIAMI, FL 33165.

                                                    The Debt

         3. The debt owed the USA is as follows:


               A. Current Principal (after application of all prior            $26.142.17
               payments, credits . and offsets)
               B. CUlTent Capitalized Interest Balance and                     $16.949.59
               Accrued Interest as of May 8, 2012
                                                                               $0.011
               C. Administrative Fee, Costs, Penalties

               D. Credits previously applied (Debtor payments,                 $0.00
               credits, and offsets)
Case 1:12-cv-21915-WCT Document 1 Entered on FLSD Docket 05/21/2012 Page 2 of 6




                                                                                  $500.()O
               E. Attorneys fees

               Total Owed                                                                1.76



         The Certificate of Indebtedness, attached as Exhibit "A", shows the total owed excluding attorney's

    fees and CIF charges. The principal balance and the interest balance shown on the Certificate of

    Indebtedness is correct as of the date of the Certificate of Indebtedness after application of all prior

    payments, credits, and offsets. Prejudgment interest accrues at the rate of 9% per annum.

                                                   Failure to Pay

          4. Demand has been made upon the defendant for payment of the indebtedness, and the defendant

    has neglected and refused to pay the same.

          WHEREFORE, USA prays for judgment:

          A. For the sums set forth in paragraph 3 above, plus prejudgment interest through the date of

    judgment, all administrative costs allowed by law, and post-judgment interest pursuant to 28 U.S.c. §

    1961 that interest on the judgment be at the legal rate until paid in full;

          B. For attorneys' fees to the extent allowed by law; and,

          C. For such other relief which the Court deems proper.



                                                              Newman



                                                    By:
                                                              Jennifer Margo      an ez
                                                              Florida Bar Number 0 7070 I
                                                              1533 Sunset Drive, Suite 225
                                                              Coral Gables, Florida 33143
                                                              TeI.305-665-9633
                                                              Facsimile 305-666-9714
                                                              Email: jenmargolis@beJJ ... mh.net
Case 1:12-cv-21915-WCT Document 1 Entered on FLSD Docket 05/21/2012 Page 3 of 6




                              EXHIBIT "A"
Case 1:12-cv-21915-WCT Document 1 Entered on FLSD Docket 05/21/2012 Page 4 of 6




                                    U. S. DEPARTMENT OF EDUCATION
                                       SAN FRAl\CISCO, CALIFORNIA

                                CERTIFICATE OF INDEBTEDNESS #1 Q}" 1

                                                          Maria E Mcdina
                                                          1052 SW 78 th PI
                                                          Miami, I'L 33144-4250
                                                          Account No, xx:-~

 I certify that U.S, Department of Education records show that the borrower named above is indebted to the
 United States in the amount stated below plus additional interest from 04/24/10,

 On or about 03/05/88, the borrower executed a promissory note to secure a Federal Family Education Loan
 Program Consolidation loan from Citibank (New York State) Rochester, NY, This loan was disbursed for
 $22,291.89 on 06114/88, at 9.00 percent interest per annum. The loan obligation was guaranteed by United
 Student Aid Funds, Inc, and then reinsured by the Department of Education under loan guaranty programs
 authorized under Title IV-B of the Higher Education Act of 1965, as amended, 20 USC, 1071 lOt seq, (34
 C.F,R. Part 682). The holder demanded payment according to the terms of the note, and credited $0,00 to the
 outstanding principal owed on the loan, The borrower defaulted on the obligation on 12/26/91, and the holder
 filed a claim on the loan guarantee,

 Due to this default, the guaranty agency paid a claim in the amount of $35,243.43 to the holder. The guarantor
 was then reimbursed for that claim payment by the Department under its reinsurance agreement. Pursuant to
 34 C.F,R, § 682,4 1O(b)(4), once the guarantor pays On a default claim, the entire amount paid becomes due to
 the guarantor as principal. 111e guarantor attempted to collect this debt from the borrower. The guarantor was
 unable to collect the full amount due, and on 12/05101, assigned its right and title to the loan to the
 Department.

 Since assigument of the loan, the DqJanment has credited a total of $1 0,970,63 in payments from all sources,
 including Treasury Department offsets, if any, to the balance, After application oftllese payments, the
 borrower now owes the United States the following:

          Principal:                                           $26,142.17
          Interest:                                             $12,149,56

          Total debt as of 04/2411 0:                           $38,291.73

  Interest accrues on the principal shown here at the rate of $6.44 per day.

  Pursuant to 28 U.S.C. § 1746(2), I certify nnder penalty of per:iury that the foregoing is true and correct.



  Executed on:                                             rJt Li{Jh
                                                           Loan Analyst
                                                           Litigation Support




                                                              "'Eller Ll' Roche
                                                              loan Aft". is!
               Case 1:12-cv-21915-WCT Document 1 Entered on FLSD Docket 05/21/2012 Page 5 of 6

            Loan ,Consolidation Appncation_Al"ld',Ptomi~soi'y Note '.
                                                               makes a falee .~t"mi!lnt or mllrepresentetloo on this form r8 lIubJect to peJulltlel
                                                               Imprisonment under the\' United Statu Crlm1"", Code ttnd 20 U.S C. 1097.
                                                                               ~                        !




  ?f   •
 ,',
 ~
                                                                                                                                              E.              F. Interest      G. Dale Repayment
                                                                                                                                      Current Balance
                                                                                                                                     11",;1../%, 9 '7 ,~ 8.~~1I;%
                                                                                                                                      !:2•P,f"!T''2. '7 /¢i!0 ';:i3L,/
,1                                                                                                                                                              4   (                    ~   I

                                                                                                                                                                                         •I      r




-,
..'I             "      ~   ::.   ~   :
                                          ~'"       ..
                                              ": '2 •
                                                    ~.
                                                ':!;..
                                                             ~~.
                                                         " .'" ..:
                                                               •     -.. •     "0    : ".'     TOTAL
                                                                                                      •            ()
                                                                                                                        •
           9. Student loans VWfsh.to have considered for purposes of determmmg my repayment ,schedule but that I do not wish o have consolidated
              00 NOT D.UP~ICATE LOANS LISTED IN ITEM a : - • :"                      :' ,
                    A. GrechtortS~lVrcer';.Nama_. ~.               •       B;Account Number      'c. Type of Loan Program         O:.Estlmaled Current 8alance
                         ~ ,'~         ,      ':'.:"'':;                        .: ~
 "
oJ




                                                                                   ..   ,~



                                                                                             17, Term        >   18. Rate    19. Area CodelP~one Number                 20. Lender Code .
                                                                                                                                 ~().828-61 03"                              '.82ij878


           Whlte,Clllbank Yelfow·USAF Pink-Borrower                            A~tum wl'ute and yelloW copies to Cilibank                          C'opYrEght @ Umted Student Aid Funds, Inc 19B7
           USA Funds Form 115LC                                                K~ lha pink copy for your records     •                             All fights r6$ElIVGd "
        Case 1:12-cv-21915-WCT Document 1 Entered on FLSD Docket 05/21/2012 Page 6 of 6


Additional litrms of the Promissory Note for a Consolidation Loan
II, DIIot IkM hcOIllllOllutl, Tho "'I"'ymont P<lriod 00 thillolll ....In. _ .
tho Ii;.n II dllbulMd The f_menl 10 due wilhln 60 days of dllbu"""onl,
_pt 1hll.1 may bot tnfllitd
_Ion titled "DefItrmenl"
my I:>rmor _        h~1I!IItd
                                   rrMnt 01 princiPii unfllalllll< d_ See the
                                nta will be mIM In monthly In"'"","llIln..,.
                                      _1gatIon.
corda... wIIh 1110 "paymtntllCl>edule which will be prollided to      l1\li.
                                                                       tho lime
                                                 on 111. """', _ ! o f __
                                                                                           bot. _
                                                                                                                        _t
                                                                                                       In duo course ",. P I - 01 thIS loan ... to be ulltd toIoly fa
                                                                                           discharge my ~Ing                ,=~ttona deocrll>ed In tho itemlZOllon
                                                                                           of """'I """""*daIt MCtIon 0I1111t     nand Promill<lrY. Nolo The IIIrms
                                                                                           rJ thlliotn will bt ~ In accoidance with lhe Higher EducllIOn MI of
                                                                                           1.laamel\dod, and S1PIlaw and regultlllonS whloh QOYOm tho USA Fund.
                                                                                           Loan Consolidation Program
tOIldation            ~ 1;S-' ~"
                                                                                           YIR, 0 t f I _ 11111_10 dtIeIme"tI undtr tht High" Ed...,.,lon MI,
III, fn_: l.g,"~PI,JIIllI.Qn the unpaid pnnclPll ~ from                                    u -.clod, WId 1111 lilaulati9nl In ordiIr 10 ~ a dtIIniItnt, I mull request
the d'le tho repaym                      ~II tho enH,. principii aumlilld a<:erued         1M defonnent and pn:Mde yoo with all documentation requlrtd to ootabllsh my
Interu1 .,. paid In I          I be _nalblt 10< tho paym.nt of ali the 1 _                 eI~1I1y I undollllMd thai t mUll notify you whtn tho oond~lon enlhllng mt to
thlllaoorue. on thilloln In IICCOrd"""o with Ihe .rm. of the repaymont 1Chfd.              ItHi doIoim4In1 no ...... _ ..... Poyment 01 principal on my loan may I>e deferred
ule Thill consolidation IOIll nOfll ohol! l>eat 1.,._ III an annuli n, Whleh III           during the RI\>Iyn\eIII Pl"od H I am not In dt!au~ and I comply with applle.blo
flxtd for tMl1!!m 01 tIlo iotn, on tile unpaid pl1nOlpIll ballnce of life iotn which       S - and Fedtialloan ca"••Od.1on lIIgutllllons pubUohed pu",u.nli. sectton
 I. equlll to Ihe wol;hlod _       01 tho InIenllll",too on the loana iIOnIoIldlflld,      <I28C 01 TIIIot IV. PItt B rJ the High .. EdUWlon MI oI191!5, .. amended, ,n tho
roundtd to lilt "'.~ wholt P.n:ent, exceDl lI1IlI oUCh In"rMt lite aIla. not               fottawlng clrcurnalarl¢o!l
be it. thlll nine P<lmltnt (9%) ff any of my SLS (fa_rly called _.nt PLUS
., "'LAS) Icon ••,. to I>e COlllOlldatad they will flrtt bot roIIn.need III tho
annual ..to u delermlntd by the Stcr*WY IIId authOliZtd by Ih' MI, Hthat
_ I. lowe, than my ou,,,,,,1 fixed rato and Ihtn I>e Immtdillely """",,,1daIId
                                                                               """""I        1 While I am ~ In-
                                                                                               a • leU! haH-Ilmt IIUdy til • _             11\11 It
                                                                                                 unleA I am not. cltlztil Of • "nal oIlht Unlttd
                                                                                                                                                       partIcI=   In tho (l$LP,
                                                                                                                                                                 Ind aHendlnQ
                                                                                                 """hOOI_ tho UnlIod StIlIM. and K I """,Ive a loan under tho (lSl
Into tnlt ICCOIJnt I witl nOl rectiv. any ..~ dooumenflltlon tvldenclng
noflntnood iotn..
                                                                                                  a,SUI program. !of the 0",011",.." pariod. or
                                                                                               b hJlf.I,mo IIUdy til • _        ptJ1Iclptdlng In Ih. GSLP. unl... I am not I
IV, _         I'M: I will not be ehorgOd 0 guanontee 1M for my eon_1c>ono-                       cnlzon 0<. niIIIoNII of tho Unllld S _ and _Ing loohool oulalde
                                                                                                 Iht Unl\locl StIlIM. '" onroUod In hJlf.IIme otudy III an Iril1Itu~on of hlghor
                                                                                                 ed\lCltiQn 0< a >'tX:ItIoI1III _       thai Is " " " _ by In agency of tt1e
~'~oo~lwil~IMbot~inc~iib~~~                                                                      -         Q10Wmment (e.g, !bot ..rvtt:e acad<tm1H), or pu,,"ulng


                    ~l~~[~~~~~:~~
                                                                                               c an ellgIbIit gnot..... _ I p program,            Of
                                                                                               d an eligtbI40 "'*'~ training program for dlMbltd Individuals
                                                                                             2 Fot poriodt not _ I n g 24 m<WIII11 while I 1m co.-cllnllously ... klng
                                                                                                bul unabltlio Alld hJlf.llmo ompIoyment In tho Unlttd Statoo
                                                                                             3, Up 10 _ _ dt.oinQ which tItIt ~ It *"powily totally dlubled
                                                                                                Of durlng which th, 110"""" 10 unable to IlCUro employment t>eoouu h.
                                                                                                Of IIho II caI1ng t>r I _    Of dOptIlI:Ioc ,t who Is temporarily IIltlIIy dlOAJ)ied



                                                                                           g~iij~~!~~~~ ~~~~1when tho        '"'.. ' ."" .•~~ to make condnton
                                                                                                                                                      the aehl!Kluled pllyments.
                                                                                                                                                                 e.,Hllng molo tho
                                                                                                                                              forbe~nCtl of payments of the loan
                                                                                                                                            .nd at the discretlo-n of the lender
                                                                                                                                                                                 for




                                                                                                                                                       Ihia Promlsoory Note 'n pen,
                                                                                                                                                          from the due doto 01 th,.
                                                                                                                                                              who.le loan lIS due IS
                                                                                                                                                              Ihla Prom,ssory N0I8,
                                                                                                                                                              the Pl!\lCUIaT _
                                                                                                                                                             and the toUtl num~r
                                                                                                                                                         any 1>e~1 d..erll>ed un-
                                                                                                                                          ,            lender grants forbeeranCG,
                                                                                                                                           repayment P'lrlod mentlonad on the

                                                                                                                                 01 repayment thtll apply to th,. loan will be


VII, AddHlonal AaIHrnenla: I understand Ihal tho plOC$eds
tIon L.otil will bt .. ntlD tM "ndlng Inslll1JlIon(s) IIrItd on my
                                                                   =       ConSOllda·
                                                                           lion Jor,11>e
putpOlt of paying off Ihe Ioln(o) :A.ny nOllee requlnod III I>e gMltlID m. wi,1 bot
effeclhl. whon milled by filii cl_ mlP to the 18_ add_ you 1\&\18 for me
                                                                                           I            thl! my _
                                                                                                                                    rIO ~ont-"" that the Lender
                                                                                                                                      tItIt ..payn'llfnt period ~""
                                                                                                                       ... an .tlglbII bonowoIr ulldOl thlt! Loan Co\'ill{)lIda'
                                                                                           tioo progrom ulldet $&C\1on 428C of !he Ao:llerminal" upon my
                                                                                           loan, """"PI wilh roopact to Ioona ro<!tIlved aHe,lhe "",olPl of Ih,. loan
                                                                                                                                                                      "''''''pi
                                                                                                                                                                        01 !h",

                                                                                           XII PrllP'I'fI!Itnt: I may, at my 0III1on and without pet1a1ty, PI1poy all or any pan
Your r.tIuro II> Info"," or 1.01111 that I comply wnh any lerm of 11110 NOflI.1I not       oIlhe pnnClPlI 01 accrued intll'"' 01 thilioon Ii any lime III do so, I will b.
• wllver 01 your righll. Ho provilion of thlt Note can be wlllvad or modHitd ...           tnHtIed to ...bIlIt of illY u""amld Inl_ Ihat I h..... pooid
..pt In writing Hlilt guararnorla noqulnod ulldor Its QUOJ'MIH to "'PlY my Ioan(s)
 be<:euOlI h... dofauHtd, Ih. gUI"'"tor will blOOm. tho own", oIlhll HOoII! and            XII!, CrtI:tIt Burwullollflc«llon: InIofmallQn conoemlng tho amount of thIS loan
a. my creditor will hove all 11\0 rlgi'rt$ oj tho origlnlll lender 10 enhrct th'" NOIt     and III ""'II)'I'IIM wiM bot ropot1td 10 one 0< mono enodlt bUrlllu orgon,mlonl
.gtlnl!l m•. I und.-.d thlll mull "'PlY thfa Noteo ... n though I may be un·
der 16 )'!tIro of.ge This Noteo 18 not offacll1lo unUi n Islll:C<lPltd by you In this
                                                                                           H1 _ 011 ~_.Iho Itnder. hi;IIdtr or                   11\1"'-    wAt ...., "'PO" th.
                                                                                           dtlault 10 III natIonIII ondIt bu_ ~ TItIo INIY IllUnlflcllnlly and
Noll tho word! I. 1M and my "'"" tho borrow" identHItd In ttft .t.s>DI1cafI¢n              tIdw-'Y ~ lIlY CIIIIy 111 ........ DIIMr ondIt.
You, yoor II1d you,. mean Ihe I.nd.r and any other owntr of the Nciit 11 tile              Tht lendtr, holdtr or ~ _                     must notify me .'Iaut 30 days ,n od·
bo,,,,,,,orbtoom.. totally and permanonlly dlubltd, or Or", hltlher obllgllllon            vanco thai Intorml:llon ......., !bot iIeIaoJ" WIll bt dlocloeod to credit bu ...u 0"
to '"Ply"''' loan will bot ~ I IQIH ID nOlify yoo of • ch~1n my name,                      ganlZOlIon. un_ I _           inID ~nt on tho loan within Iha 30 days
 add.... or any appllceblo IIChool ontOllman! aIaIUI wnhln 10           I hlMt nOl         The "",dar muot pJOYldt a timely notpon. . to • n!lqunt from 11111 cnod" bu",su
 madl any faIN WTtIItn _mInt WIth regard III Ihl loan If any          ilIOn 01 this        0flIlJ'1Dtiot1 rogardiIIg objtctIOnIll millht ",I. wllh lhat OrganizallOn about the
 NolO II dtltrmlnod 10 be unon_1e 0' fa prohlbliod by IIw, .ueIl prtMslon                  .""uracy slid i;<lmpletenMo oImformallon reported aboul ma
 Ihall bt _tidonod In~ wl1houllnYllldaling tho .. mllnlnil Pr<MalOl1. 01
 thl6 NOIt If tho lind .. Mill tM Iotn '" OIht""iM lnon.... th' rlgh\1D roctivt
 Plymtntl mull bot "'" • clOlr notfIIcl1lon willon .".,nl OUI my. obligationJ 10
 Ine patfy to whom my loan WII tOld 1will h.... tho urne rlg/1ll1 Md """""""'If.
 tiet with tho lubNq\ltlnl holder tholl h.... with regard 10 !he teMtt 1"hhI Holt
  II nOl InlOndtd to bt • nllflOllallle Inl1nJmtnl Undor !bot Un~ Comn'lIIrciIll
 Codt U IdQpttd by any _ , Ind a IUbolquont holder of thl! NOI& OIIIInO!
                                                                       ,



          NOTICE TO BORRPWER~ BY YOUR SIGNATURE ON THE OTHER SIDE OF THIS APPLICATION AND
              PROMISSORY NOTE YOUrARE, AGRtEING TO "I'HE A"OVE TERMS AND CERTIFICATION.
                                                           _ _....L.._ _ .•. _ _ _ . _ _._ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          .--=-----
